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AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia
In the Matter of the Search of 5
(Briefly describe the property to be searched )
or identify the person by name and address) ) CaseNo. 1:17SW449
THE PREMISES LocaTeD Ii )
SEAN UNDER SEAL

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Eastern District of Virginia
(identify the person or describe the property to be searched and give its location):

See Attachment A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal] (identify the person or describe the property to be seized):

See Attachment B

YOU ARE COMMANDED to execute this warrant on or before August 8, 2017 (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. lat any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Honorable Theresa C. Buchanan
(United States Magistrate Judge)

OF Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for (: days (not to exceed 30) © until, the facts justifying, the later specific date of

Therese Carol Ba
The
blo oer — AS
Date and time issued: do 119 ae dS Magistrate J
er ae S signature
City and state: Alexandria, Virginia Honorable Theresa C. Buchanan

Printed name and title
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Return
Case No.: Date and time warrant executed: . Copyofw ant and inventory left with:
1:178Wwa449 7/26/2017 ¢:S0OPM Pl Mews st

<—

Inventory made in the presence of: ©
Paul Mauetlont

Inventory of the property taken and name of any person(s) seized:
See atached:
“lise of items Seired (Atiachme ot A)
eo (ist of items a; nally Mor eol nor physically ra ker)
Serre CAttachnent B

e(..St of ites sere ) Haggeok For ossible.
attorney: chent privilege CAtfach nent c )

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

pues K/L a
ale BLK j ane Executing officer's signature

«ee s| Agent

1
Printed name and title

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Attachment A | UNITED STATE DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION

Recelptfor Property Recelved/Returned/Released/Seized

File #: 205B-WF-
6832812
On(date) 7/26/2017 item(s) listed below were:
[] Received From
(] Recelved To
[_] Released To
J Seized
(Name) Paul Manafort
(street Address)
(City) Alexandria, VA 22314

Description of Item(s):

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UNITED STATE DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION

Receipt for Property Received/Returned/Released/Seized

File #: 205B-WF-
6832812

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UNITED STATE DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION

Receipt for Property Received/Returned/Released/Seized

File #: 205B-WE-
6832812

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UNITED STATE DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION

Receipt for Property Received/Returned/Released/Seized

File #; 205B-WF-
6832812

Received By

Received From Paul Manafort

(signature) (signature)

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ATTACHMENT B

List of items digitally imaged on-premises, not physically taken:

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[Attachment C]
2058 -WF- 6832812

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Z / 2+/ 22/4 athrned Arent privilege

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ATTACHMENT A
The Property to Be Searched
The premises to be searched (the “Subject Premises”) is the condominium unit located at
ee | -5220:2, VA 22314, including the storage unit numbered i
ma as well as any locked drawers, containers, cabinets, safes, computers, electronic devices, and

storage media (such as hard disks or other media that can store data) found therein.
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ATTACHMENT B

Items to Be Seized (or, in the alternative, identified)

1, Records relating to violations of 31 U.S.C, §§ 5314, 5322(a) (failure to file a report
of foreign bank and financial accounts); 22 U.S.C. § 611, et. seg. (foreign agents registration act);
26 U.S.C. § 7206(1) (filing a false tax return); 18 U.S.C. § 1014 (fraud in connection with the
extension of credit); 18 U.S.C. §§ 1341, 1343, and 1349 (mail fraud, wire fraud, and conspiracy to
commit these offenses); 18 U.S.C. §§ 1956 and 1957 (money laundering and money laundering
conspiracy); 52 U.S.C. §§ 30121(a)(1)(A) and (a)(2) (foreign national contributions); and 18
U.S.C, §§ 371 and 2 (conspiracy, aiding: and abetting, and attempt to commit such offenses)
(collectively, the “Subject Offenses”), occurring on or after January 1, 2006, including but not
limited to:

a. Any and all financial records for Paul Manafort, Jr., Kathleen Manafort, Richard
Gates, or companies associated with Paul Manafort, Jr., Kathleen Manafort, or
Richard Gates, including but not limited to records relating to any foreign financial
accounts and records relating to payments by or on behalf of any foreign
government, foreign officials, foreign entities, foreign persons, or foreign
principals;

b. | Any and all federal and state tax documentation, including but not limited to
personal and business tax returns and all associated schedules for Paul Manafort,
Jr., Richard Gates, or companies associated with Manafort or Gates;

c. Letters, correspondence, emails, or other forms of communications with any
foreign financial institution, or any individual acting as the signatory or controlling
any foreign bank account;

d, Records relating to efforts by Manafort, Gates, or their affiliated entities to conduct
activities on behalf of, for the benefit of, or at the direction of any foreign
government, foreign officials, foreign entities, foreign persons, or foreign
principals, including but not limited to the Party of Regions and Viktor
Yanukovych;

e, Records relating to, discussing, or documenting Telmar Investments Limited,
Tiakora Ventures Limited, Lucicle Consultants Limited, Actinet Trading Limited,
Black Sea View Limited, Bletilla Ventures Limited, Evo Holdings Limited, Global
Highway Limted, Leviathan Advisors Limited, Loav Advisors Limited, Peranova
Holdings Limited, including but not limited to bank records, canceled checks,
money drafts, letters of credit, cashier’s checks, safe deposit records, checkbooks,
and check stubs, duplicates and copies of checks, deposit items, savings passbooks,
wire transfer records, and similar bank and financial account records;

f. Physical items purchased through the use of funds from Cypriot accounts, including
but not limited to rugs purchased from J & J Oriental Rugs, a Bijan Black Titanium
“Royal Way” watch, and clothing purchased from House of Bijan and Alan
Couture;
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g. Evidence relevant to any false statements, pretenses, representations, or material
omissions in connection with communications with the Department of Justice, the
Internal Revenue Service, tax preparers, accountants, or banks;

h, Communications, records, documents, and other files involving any of the
attendees of the June 9, 2016 meeting at Trump tower, as well as Aras and Amin

Agalorov;

i. Evidence indicating Manafort’s state of mind as it relates to the crimes under
investigation;

j. The identity of any person(s)—including records that help reveal the whereabouts
of the person(s)}—who communicated with Manafort about any matters relating to
activities conducted by Manafort on behalf of, for the benefit of, or at the direction
of any foreign government, foreign officials, foreign entities, foreign persons, or
foreign principals;

k. Any and all daily planners, logs, calendars, or schedule books relating to Manafort

or Gates.
2. Computers or storage media used as a means to commit the Subject Offenses,
3, For any computer or storage medium whose seizure is otherwise authorized by

this warrant, and any computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the time the
things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords,
documents, browsing history, user profiles, email, email contacts, “chat,”
instant messaging logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER,
such as viruses, Trojan horses, and other forms of malicious software, as well
as evidence of the presence or absence of security software designed to detect
malicious software;

c. evidence of the lack of such malicious software;

d. evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events
relating to crime under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to the crime
under investigation;

f. evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;
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g. evidence of counter-forensic programs (and associated data) that are designed
to eliminate data from the COMPUTER:

h, evidence of the times the COMPUTER was used;

i, passwords, encryption keys, and other access devices that may be necessary to
access the COMPUTER;

j. documentation and manuals that may be necessary to access the COMPUTER
or to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the
COMPUTER;

l. records of or information about the COMPUTER’s Internet activity, including
firewall logs, caches, browser history and cookies, “bookmarked” or
“favorite” web pages, search terms that the user entered into any Internet
search engine, and records of user-typed web addresses;

m. contextual information necessary to understand the evidence described in this
attachment.

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “computer” includes all types of electronic, magnetic, optical, electrochemical,
or other high speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, notebook computers, mobile phones, tablets, server computers, and
network hardware.

The term “storage medium” includes any physical object upon which computer data can
be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.
